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                                                                         EXECUTION VERSION


                                                        THE HONORABLE THOMAS S. ZILLY


                             UNITED STATES DISTRICT COURT

                          WESTERN DISTRICT OF WASHINGTON

                                          AT SEATTLE

O&R CONSTRUCTION, LLC; DIE-MENSION            ) No. 2:12-cv-02184-TSZ
CORPORATION; VINOTEMP INTERNATIONAL )
CORPORATION; CPRINT, INC.; ALTAFLO, LLC; ) STIPULATION OF DISMISSAL
and FLOW SCIENCES INC., individually and on   )
behalf of all others similarly situated,      )
                                              )
                                  Plaintiffs, )
                                              )
        vs.                                   )
                                              )
DUN & BRADSTREET CREDIBILITY
                                              )
CORPORATION; DUN & BRADSTREET
                                              )
CORPORATION; and DUN & BRADSTREET,
                                              )
INC.,
                                              )
                                  Defendants. )
                                              )
                                              )


         IT IS STIPULATED AND AGREED by the attorneys for Plaintiffs and Defendants in

the above-captioned consolidated actions (the “Actions”) that pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii) the Actions be and hereby are dismissed. Such dismissal shall be with

prejudice against all the named Plaintiffs, and without prejudice as to the claims of any putative

class.
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                                                            EXECUTION VERSION



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                                                             EXECUTION VERSION



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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 19, 2018, I authorized the electronic filing of the

foregoing with the Clerk of the Court using the CM/ECF system which will send notification of

such filing to the e-mail addresses denoted on the attached Electronic Mail Notice List, and I

hereby certify that I caused to be mailed the foregoing document or paper via the United States

Postal Service to the non-CM/ECF participants indicated on the attached Manual Notice List.

       I certify under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on January 19, 2018.

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Mailing Information for a Case 2:12-cv-02184-TSZ O&R Construction, LLC v. Dun &
Bradstreet Credibility Corporation et al
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Manual Notice List

The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who therefore require manual noticing).
You may wish to use your mouse to select and copy this list into your word processing program in order to create notices or labels for these
recipients.
• (No manual recipients)




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